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    7                       UNITED STATES DISTRICT COURT
    8                      CENTRAL DISTRICT OF CALIFORNIA
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   10   TIMOTHY ESPINOZA,                        )   Case No.: 8:19-cv-01277-JLS-AGR
                                                 )
   11                Plaintiff,                  )   ORDER DISMISSING ENTIRE
                                                 )   ACTION WITH PREJUDICE (Doc.
   12         vs.                                )   101)
                                                 )
   13   SANTA ANA POLICE                         )
        DEPARTMENT, et al.,                      )
   14                                            )
                     Defendants.                 )
   15                                            )
                                                 )
   16                                            )
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              IT IS HEREBY ORDERED, following stipulation of counsel, that the
   19
        above-entitled action is hereby dismissed in its entirety, with prejudice, pursuant to
   20
        Federal Rules of Civil Procedure, Rule 41(a)(1).
   21
              IT IS SO ORDERED.
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   24   Dated: October 01, 2021
                                               ___________________________________
   25                                          HON. JOSEPHINE L. STATON
   26                                          UNITED STATES DISTRICT JUDGE
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